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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                        Plaintiff,       )
      vs.                                )                              Case No. 03-40142-JAR
                                         )
                                         )
DAVID C. WITTIG and                      )
DOUGLAS T. LAKE,                         )
                                         )
                        Defendants.      )
________________________________________ )

                                     MEMORANDUM AND ORDER

         This matter is before the Court on the government’s Motion to Reinstate Restraining

Orders Following Return of the Mandate and Impose Conditions of Release (Doc. 805) and

defendants’ responses in opposition (Docs. 806, 831).1 The Court heard argument on May 30,

2007, and took the matter under advisement. On June 27, 2007, the Court entered an order

denying the motion with respect to advancement of legal fees and granting the government’s

motion with respect to the remaining directly forfeitable assets listed in the Superseding

Indictment (Doc. 836). In addition to restraint of the forfeitable assets listed in Count 40, the

government requested that the Court reinstate the post-trial restraining order (Doc. 590), issued

to restrain all assets of the Wittigs, either joint or several, including the $7,017,460.00 settlement

fund (“$7 million settlement fund”) recently returned by the government to defendant Wittig and

his wife, Beth Wittig. The government subsequently modified its position, instead asserting that


         1
          Although defendant Wittig takes the lead in opposing the government’s motion, defendant Lake has joined
in Wittig’s response to the extent it applies to him. The $7 million settlement fund is an issue limited to defendant
Wittig.
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the Court hold that the Settlement Agreement between the government and Beth Wittig remains

in full force and effect and allow the government to retain the $7 million settlement fund pending

the third trial.

        In an Order issued September 10, 2007, the Court deferred ruling on the issue until Beth

Wittig stated her position with respect to enforcement of the Settlement Agreement.

Specifically, the Court requested Beth Wittig to address whether she considered the Settlement

Agreement to be a binding contract between herself and the government notwithstanding the

subsequent reversal of the convictions against her husband, defendant David Wittig. Beth Wittig

filed her response on October 10, 2007 (Doc. 854); defendant Wittig also filed a response (Doc.

851). The government has not made any additional submissions on the issue. The Court has

reviewed the parties’ submissions and is prepared to rule. For the reasons set forth in detail

below, the Court denies the government’s motion and orders return of the $7 million settlement

fund to defendant Wittig.

Procedural Background and Facts

        The procedural background and facts surrounding the $7 million settlement fund were set

forth in the Court’s previous Order of September 10, 2007. The Court incorporates that Order

herein and relies upon it by reference in ruling on the instant motion.

        On January 3, 2006, the Court issued a Preliminary Order of Forfeiture as to defendant

Wittig identifying property subject to forfeiture as a result of the jury verdicts of forfeiture issued

against defendant after the second trial of this case.2

        On January 17, 2006, after extensive submissions by the parties and a hearing, this Court


        2
         (Doc. 577.)

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detained defendant Wittig for violating the conditions of release.3 Highly summarized,

defendant transferred assets to Beth Wittig in violation of the terms of release, which the Court

viewed as the intentional dissipation of assets.4 Consequently, the government sought and

obtained an expanded post-conviction restraining order on the Wittigs’ assets.5 Specifically, the

Court restrained property that might serve as substitute property to be forfeited after ancillary

proceedings, including numerous joint and individual bank and investment accounts, stock, and

partnership interests.6 The restraining order also covered any personal property held by the

Wittigs directly or indirectly in storage and any previously undisclosed accounts.7

       On February 7, 2006, the Court issued an Order Modifying Restraining Orders and the

Preliminary Orders of Forfeiture.8 The Modified Preliminary Order of Forfeiture identified as

additional forfeitable property a list of substitute assets that included all Wittig property of both

defendant and Beth Wittig.9

       Following the Preliminary Order of Forfeiture, Beth Wittig filed an Ancillary Petition

asserting an interest in various forfeited properties, including the couple’s home, referred to

throughout these proceedings as the Landon Mansion, and the list of specific substitute assets.10


       3
        (Doc. 589.)
       4
        Id.
       5
        (Doc. 590.)
       6
        Id. at 2.
       7
        Id.
       8
        (Doc. 610.)
       9
        Id. at 2-3.
       10
           (Docs. 603, 604.)

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The government subsequently deposed Beth Wittig, at which time she testified, inter alia, that

she had reached a verbal agreement with defendant Wittig some time in July 2004 to pay his past

and future legal fees, and that she should “get something in return” for this agreement.

       In March 2006, Beth Wittig and the government negotiated a settlement that

compromised their respective competing interests in the subject property.11 Per the Settlement

Agreement, the government released its interest in certain property and Beth Wittig agreed to

liquidate certain property and fund a substitute asset settlement fund in the approximate amount

of $7 million.12 Beth Wittig also waived any right or interest in certain property, including

Westar stock and employment benefits and all but $350,000 of the Landon Mansion.

       The Settlement Agreement described the liquidation as follows:

                        4. Resolution of Parties’ Interest in Substitute Assets. The
                Parties, in consideration of the settlement and compromise
                described herein, hereby agree to the following with regard to
                settling and resolving their competing interests in all substitute
                assets and property identified in the [Court’s forfeiture orders].

                        A. Modification of Restraining Orders.
                        The parties agree to mutually request from the Court that
                the restraining orders, as modified by the Court’s Order . . . be
                amended to permit Petitioner Beth G. Wittig to engage in the
                following financial transactions:

                        (1). Liquidate assets and/or cause the liquidation or
                transfer of assets for funding a $7,017,460.00 compromise
                payment to the United States Marshal’s Service to be treated
                as the forfeited substitute asset funds of David C. Wittig . . .

                         ....

                         B.(2) Petitioner Beth G. Wittig shall make

       11
         (Doc. 806, Ex. 4.)
       12
         Id.

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                payments/transfers into the fund by way of wire transfer pursuant
                to instructions provided by the government. . . . The compromise
                payment of $7,017,460.00 will be considered the forfeited
                substitute assets of David C. Wittig, and Petitioner agrees to the
                forfeiture to the United States of the $7,017,460.00 and waives any
                further right, title or interest in said funds. (Emphasis added).

The Settlement Agreement stated that it was intended to be a compromise between Beth Wittig

and the government only, and expressly indicated that it did not impair defendant Wittig’s

appellate rights. In consideration of the promises and obligations of the parties, Beth Wittig and

the government mutually waived and released all claims, causes of action, or demands relating to

these proceedings.

       The Corrected Final Order of Forfeiture as to defendant Wittig incorporated the terms of

the Settlement Agreement.13 The Corrected Final Order of Forfeiture stated, in part, that

                [D]ue to the unavailability of the Split-Dollar Payout and Imputed
                Income portion of Item 1, Item 3 and Item 4 for one of more of the
                reasons specified in 21 U.S.C. § 853(p), $7,017,460.00 is forfeited
                to the United States pursuant to and in accordance with the
                Settlement Agreement between the United States and Beth G.
                Wittig, which agreement resolves all claims and rights to the
                Substitute Assets identified in the Court’s Order Modifying
                Restraining Orders and Preliminary Orders of Forfeiture.14

       On July 28, 2006, the government and counsel for Beth Wittig submitted an Agreed

Motion for Rescission of Restraining Orders that stated she had fully performed under the

Settlement Agreement and paid her compromise payment obligation in full.15 Per the agreement,

$7,017,460.00 had been deposited with the United States Marshal’s Service. The Court



       13
         (Doc. 683.)
       14
         Id.
       15
         (Doc. 800.)

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rescinded all restraining orders and acknowledged Beth Wittig’s performance under the

compromise reached with the government.16

       On January 5, 2007, the Tenth Circuit reversed defendants’ convictions.17 In so doing,

the Tenth Circuit held that the wire fraud and money laundering counts cannot be retried, but

that the counts for conspiracy, circumvention of internal controls and forfeiture would be

remanded for retrial. On February 21, 2007, counsel for defendant advised the government of

his position that as a consequence of the Tenth Circuit reversal of all counts, the government

could no longer lawfully hold the $7 million. Counsel stated that he was writing as counsel for

David Wittig, (Beth Wittig had separate counsel in the ancillary proceedings), and requested that

the money being held be returned immediately. The government then issued a check payable to

David Wittig, Beth Wittig and defense counsel. Defendant filed a “Notice of Improper Return of

Funds,” taking issue with the return to Beth Wittig.18 The government’s position at that time was

that Beth Wittig’s Settlement Agreement with the government was void because her

consideration had been returned to her.

       On February 27, 2007, the government filed the instant motion to reinstate restraining

orders. After consulting with the Department of Justice, the government reversed its position as

to the $7 million settlement fund, and now asserts that the Court should hold that the Settlement

Agreement between the government and Beth Wittig remains in full force and effect and allow

the government to retain the $7 million pending retrial.



       16
         (Doc. 801.)
       17
         United States v. Lake, 472 F.3d 1247 (10th Cir. 2007).
       18
         (Doc. 815.)

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        At the May 30 hearing, counsel for defendant Wittig indicated that he would return the

check to the government. The Court entered a stop-payment order and directed the funds be

placed in an interest-bearing account with the United States Marshal’s Service, pending

disposition of the government’s instant motion.19

Discussion

        The issue before the Court is whether the government can obtain an order for pretrial

restraint of the $7 million settlement fund. Defendant contends that the government’s request

constitutes an unlawful restraint of substitute assets. The government counters that it is not

seeking pretrial restraint “per se,” but rather an order confirming that it is entitled to the

settlement funds as the benefit of its bargain with Beth Wittig. The government asserts that a

forfeiture settlement is not necessarily affected by a subsequent reversal and/or vacatur of the

underlying criminal conviction, if the settling party voluntarily enters into the settlement

agreement with the government, and the agreement is not conditioned on any outcome of any

appeal of the underlying criminal case. The government further asserts that a non-defendant

third party seeking relief from a settlement of an ancillary forfeiture petition in a criminal case

must do so through Fed. R. Civ. P. 60, which Beth Wittig has not done. Finally, the government

contends that defendant Wittig has no standing to the $7 million settlement fund, and that it

relied to its detriment on the Wittigs’ representations that all of their jointly held assets had been

transferred to Beth Wittig, in exchange for her agreement to pay defendant’s legal fees.

According to the government, defendant’s interest in assets subject to forfeiture are all “back in

play, as if no trial had been held.”


        19
          (Doc. 828.)

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       In her response, Beth Wittig confirmed that she does in fact “consider the Settlement

Agreement to be valid and binding as a completed contract between the government and

herself.” She further asserts that the Settlement Agreement is supported by consideration from

both parties as it is a compromise of competing claims by the government and herself, and, as

acknowledged by the government, she has fully performed under the Settlement Agreement.

Beth Wittig’s position is that the settlement funds are the “forfeited substitute asset funds of

David C. Wittig,” and that the ownership of those funds is affected by the reversal of defendant

Wittig’s convictions, which occurred after completion of the Settlement Agreement. In his

response, defendant Wittig asserts that he does not seek to enforce the Settlement Agreement,

and that the issue before the Court relates to restoring his interest in previously forfeited

property, which he contends is not affected by the Settlement Agreement.

       The Court thus begins its analysis on the premise that the Settlement Agreement is

enforceable. The government argues that the Settlement Agreement is not affected by the

subsequent reversal of the underlying criminal conviction and that it is entitled to keep the

settlement funds as the benefit of its bargain with Beth Wittig. The cases cited by the

government in support of its position can be distinguished from the circumstances of this case.

Both cases cited by the government involved civil forfeiture proceedings, both involved efforts

to void a forfeiture settlement, rather than enforce it, and neither case involved substitute assets.

In United States v. Bank of New York,20 the defendant executed a consent decree settling the

government’s civil forfeiture action against the proceeds of defendant’s bank accounts.21



       20
         14 F.3d 756 (2d Cir. 1994).
       21
         Id. at 758.

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Defendant’s criminal conviction was subsequently reversed and he moved pursuant to Fed. R.

Civ. P. 60(b) to vacate the consent decree.22 The district court denied the motion, finding that

the criminal conviction was not the basis for the settlement of the civil forfeiture claim and that a

dismissal in a criminal proceeding does not preclude the civil forfeiture of assets.23 The Second

Circuit affirmed, holding that the basis of the defendant’s criminal conviction is irrelevant

because the consent decree was made pursuant to the settlement of his civil forfeiture action, not

his criminal action.24

       Likewise, in Schwartz v. United States,25 a civil forfeiture action was settled at a time

when criminal racketeering convictions had been entered for the same activity underlying the

civil forfeiture action.26 Subsequently, the underlying activity was determined to have never

been criminalized by the racketeering statute.27 Defendants moved under Rule 60(b) to vacate

the forfeiture settlement.28 The Fourth Circuit affirmed the district court’s denial of Rule 60(b)

relief, holding that the forfeiture action was not void because the government took the forfeited

assets pursuant to a civil settlement agreement.29

       By contrast, the forfeiture proceedings in this case are criminal proceedings. Criminal


       22
         Id.
       23
         Id.
       24
         Id. at 759.
       25
         976 F.2d 213 (4th Cir. 1992), cert. denied, 507 U.S. 919 (1993).
       26
         Id. at 215.
       27
         Id. at 216.
       28
         Id.
       29
         Id. at 216-17.

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forfeiture is part of the sentence imposed on the convicted defendant, and only property

belonging to the defendant can be forfeited criminally.30 Unlike the defendants in Bank of

America and Schwartz, defendant’s criminal conviction and jury verdicts of forfeiture were the

basis for the Settlement Agreement, which stemmed from the ancillary proceedings and was

incorporated into the Corrected Final Order of Forfeiture. The necessary consequence of

reversal of defendant’s convictions was to vacate the criminal forfeiture orders based on those

convictions.31 Thus, the issue of enforcement of the Settlement Agreement also dictates an

analysis of defendant’s interest in previously forfeited property by virtue of the vacated order of

forfeiture.

         Third parties who have claims to property that the government seeks to have criminally

forfeited cannot intervene in the criminal action against the defendant.32 Instead, they must wait

until the court has entered a forfeiture order based on a criminal conviction, and then petition the

court for a hearing to adjudicate their interest in the property. The procedures governing the

ancillary proceeding are set forth in 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(c). Once the

court or jury finds that the property is subject to forfeiture, and the court enters a preliminary

order of forfeiture in accordance with Rule 32.2(b)(2), the government may publish notice of the

forfeiture to third parties and commence an ancillary proceeding. The burden of proof is on the

third party to demonstrate that he falls within one of two categories of third party claimants


         30
           Stephen D. Cassella, Criminal Forfeiture Procedure: An Analysis of Developments in the law Regarding
the Inclusion of a Forfeiture Judgment in the Sentence Imposed in a Criminal Case, 32 AM. J. CRIM. L. 55, 82
(2004).
         31
            See United States v. Lake, 472 F.3d 1247, 1267 (10th Cir. 2007) (reversing and remanding forfeiture count
for retrial after overturning underlying convictions); United States v. Messino, 122 F.3d 427, 430 (7th Cir. 1997).
         32
           21 U.S.C. § 853(k).

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described in § 853(n)(6).33 To succeed, third parties must prove by a preponderance of the

evidence that either (1) they had an interest in the property at the time of the offense that is

superior to the government’s interest;34 or (2) they acquired the interest after the offense as a

bona fide purchaser for value.35 If the third party meets the burden of proof, the court will

amend the preliminary order of forfeiture.36 Once the third party hearings have been held, or

time for filing third party claims has passed, the government has clear title to the property

forfeited.37

         Fed. R. Crim. P. 32.2(e) sets forth the procedure for amending an order for forfeiture to

include substitute assets. If the government demonstrates that the requirements of the substitute

assets statute, 21 U.S.C. § 853(p), have been satisfied, the court amends the order of forfeiture to

include the substitute asset, subject to the resolution of third party rights in the ancillary

proceeding.38 Thus, property of the defendant is subject to forfeiture as substitute assets even if

it is held in the name of a third party, but third parties have the right to challenge the forfeiture of

the substitute asset in the ancillary proceeding.39 Section 853(p) seems to require that the court



         33
           United States v. Saccoccia, 354 F.3d 9, 14 (1st Cir. 2003).
         34
           21 U.S.C. § 853(n)(6)(A).
         35
           Id. § 853(n)(6)(B).
         36
           Id.
         37
           Id. § 853(n)(7).
         38
          See United States v. Watkins, 320 F.3d 1279 (11th Cir. 2003) (resulting in unsecured creditors’ and
defendant’s wife’s unsuccessful challenge of forfeiture of cash as substitute asset); United States v. Morgan, 224
F.3d 339 (4th Cir. 2000) (defendant’s wife’s challenge of forfeiture of joint bank accounts as substitute assets).
         39
           See United States v. Strube, 58 F. Supp. 2d 576 (M.D. Pa. 1999) (applying ancillary proceeding statute
equally to substitute assets); United States v. Infelise, 938 F. Supp. 1352, 1363-64 (N.D. Ill. 1996) (holding that
property may be forfeited as substitute asset even though title held by third party nominee).

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find that the substitute asset belongs to the defendant before amending the order of forfeiture to

include the property as a substitute asset.40

        In this case, the Court entered a Preliminary Order of Forfeiture identifying property

subject to forfeiture as a result of the jury verdicts of forfeiture. That order was modified to

include as forfeitable property a list of substitute assets that encompassed all property of both

defendant and Beth Wittig. Beth Wittig then filed an ancillary proceeding asserting her interest

in both the property subject to forfeiture by virtue of the verdict and the substitute assets.

        Because the government cannot forfeit property owned by a third party, the issue to be

resolved in ancillary proceedings is ownership.41 Like the directly forfeitable assets, the

government’s interest in the substitute assets vested at the time of the offense giving rise to the

forfeiture.42 The Settlement Agreement expressly provided that Beth Wittig would liquidate or

transfer assets of defendant Wittig and Beth Wittig, whether jointly or individually held, for

purposes of funding the $7 million compromise settlement fund. The agreement specified that

this fund would be treated as the forfeited asset funds of defendant Wittig. Beth Wittig agreed to

the forfeiture of the substitute assets to the government and waived any further right, title or

interest in the funds. She fully performed under the Settlement Agreement and paid the

compromise payment into the settlement fund in full, resulting in the rescission of any previous

restraints on substitute assets not used for the settlement fund.



        40
          See United States v. Bennett, No. S1 97 CR.639(JSM), 2003 WL 22208286 (S.D.N.Y. Sept. 24, 2003);
Stephen D. Cassella, Criminal Forfeiture Procedure: An Analysis of Developments in the law Regarding the
Inclusion of a Forfeiture Judgment in the Sentence Imposed in a Criminal Case, 32 AM. J. CRIM. L. 55, 91 (2004);
        41
          Fed. R. Crim. P. 32.2(b)(2) (all ownership questions are deferred to the ancillary proceeding).
        42
          United States v. McHan, 345 F.3d 262, 272 (4th Cir. 2003)

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       The Settlement Agreement specifically designated the $7,017,460.00 as “the forfeited

substitute assets of David C. Wittig.” The Corrected Final Order of Forfeiture ordered that, due

to the unavailability of the Split-Dollar Payout and Imputed Income, $7,017,460 is forfeited to

the Unites States “pursuant to and in accordance with the Settlement Agreement between the

United States and Beth G. Wittig, which resolves all claims and rights to the Substitute Assets. . .

.” The Court adopted the parties’ characterization of the fund as substitute assets of defendant

Wittig in the Corrected Final Order of Forfeiture. The legal characterization of the funds as the

substitute assets of defendant Wittig is not, as the government asserts, based on Beth Wittig’s

label, but was confirmed by this Court’s order. That Corrected Final Order of Forfeiture was

vacated by the Tenth Circuit. Thus, defendant Wittig’s property interests in the forfeited

property, including the substitute assets, are restored by the Tenth Circuit’s decision.

Accordingly, the Court concludes that the government holds funds that are the substitute assets

of defendant Wittig.

       Although the Settlement Agreement cleared the way for forfeiture of the substitute assets,

it did not provide the government with the right to defendant Wittig’s property. Instead, it was

the preliminary and final orders of forfeiture that provided the government with an interest

superior to defendant Wittig’s and, per the settlement, Beth Wittig. Thus, while the government

retains its superior interest in the property vis a vis Beth Wittig per the Settlement Agreement,

there is no current basis upon which it can assert an interest superior to defendant Wittig in the

property, as the final order of forfeiture has been vacated. To the extent these funds are “back in

play,” as suggested by the government, they are in play as substitute assets of defendant Wittig.

The government’s request for reinstatement of its restraining order includes a request for pretrial


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restraint of these substitute assets. The Tenth Circuit recently held in United States v. Jarvis that

the government cannot impose pretrial restraint on substitute assets.43 Thus, the Court is

compelled to deny the broad restraint requested by the government.

       The government’s initial return of the $7,017,460.00 to defendant Wittig and legal

counsel was the correct response to the Tenth Circuit’s decision. Because both the government

and Beth Wittig agree that the Settlement Agreement is enforceable, however, she continues to

disclaim an interest in those assets, and the funds should not be returned to her. The Court thus

orders the United States Marshal’s Service to return the $7,017,460.00, plus any interest accrued,

to defendant Wittig. Such check shall be made payable to defendant David C. Wittig and

counsel, Jeffrey D. Morris. The funds shall be deposited into an interest-bearing account at Mr.

Morris’s law firm, created specifically for defendant Wittig’s funds. Per the conditions of

release imposed in this case, no transfer in excess of $25,000 shall occur without first obtaining

approval of the Court.

       IT IS THEREFORE ORDERED BY THE COURT that the government’s Motion to

Reinstate Restraining Order (Doc. 805) is DENIED with respect to the substitute assets of

defendant Wittig, in the amount of $7,017,460.00 plus interest. The United States Marshal’s

Service shall return the funds to defendant and defense counsel as directed in this Order.

       IT IS SO ORDERED.

       Dated this 20th day of December 2007.

                                                  S/ Julie A. Robinson
                                                 Julie A. Robinson
                                                 United States District Judge


       43
         499 F.3d 1196, 1204 (10th Cir. 2007).

                                                   14
